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 7                     UNITED STATES BANKRUPTCY COURT
                       EASTERN DISTRICT OF WASHINGTON
 8

 9 In re:                                        Case No. 18-03197 FPC 11
10 GIGA WATT, Inc., a Washington                 The Honorable Frederick P. Corbit
   corporation,
11                                               Chapter 11
12                       Debtor.                 CHAPTER 11 TRUSTEE’S MOTION
                                                 FOR ORDER APPROVING MOSES
13                                               LAKE TWO-WAY AGREEMENT
14

15          Mark D. Waldron, in his official capacity as the Chapter 11 Trustee (the

16 “Trustee”), hereby moves (the “Motion”) the Court pursuant to 11 U.S.C. §§ 363

17 and 364 and Fed. R Bankr. Proc. 4001 for an Order, as proposed in Exhibit A

18 attached hereto, approving that certain Agreement to Settle Relief from Stay

19 Motion, Obtain Super Priority Unsecured Credit and Re-Enter the Premises (the

20 “Moses Lake Two-Way Agreement”) between the estate of the above-captioned

21 Debtor in this case (the “Estate”), on the one hand, and Giga Plex LLC and

22 MLDC1 LLC (collectively, the “Moses Lake Landlords”), on the other hand. A

23 copy of the Moses Lake Two-Way Agreement is attached hereto as Exhibit B. A

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 1 list of the four leases with the Moses Lake Landlords is attached hereto as Exhibit

 2 C.

 3        The Motion is also based upon the authorities and arguments set forth in the

 4 Memorandum of Points and Authorities and upon the statements made in the
 5 Declaration of Mark D. Waldron, filed herewith.

 6
     MATERIAL PROVISIONS OF PROPOSED                                   Agr. § Ord. ¶
 7   AGREEMENT
 8   The Trustee may re-enter and operate the Debtor’s business at     § 2.4    ¶ 3(a)
 9   Parcel C and the Data Center of the Moses Lake facility.
10   The Trustee will pay to the Moses Lake Landlords on a current § 3.1        ¶ 3(b)
11   basis, all electricity bills generated by Parcel C and the Data
12   Center
13   The Trustee will repay to the Moses Lake Landlord the             §1.8     ¶ 3(c)
14   principal sum of $169,500.19) (the “Catch-Up Power                § 2.1
15   Payment”) at the rate of 19.9% annual interest                    § 2.3
16   The Trustee will repay to the Moses Lake Landlord a bond          § 2.2    ¶ 3(d)
17   payment required by the Grant County PUD up to the sum of
18   $25,000 (the “Bond Payment”), without interest.
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         MATERIAL PROVISIONS OF PROPOSED                                   Agr. § Ord. ¶
 1       AGREEMENT
 2       After electricity costs are paid and out of the remaining         § 3.2    ¶ 3(e)
 3       monthly revenues, the Trustee will pay (i) seventy-seven
 4       percent (77%) of the monthly net revenues1 from the Debtor’s
 5       operations at Moses Lake, up to $299,000, and (ii) eighty-five
 6       percent (85%) of monthly net revenues from the Debtor’s
 7       operations at Moses Lake that exceed $300,000 (the “Moses
 8       Lake Revenue Sharing”).
 9       The Moses Lake Landlords will apply their share of the            § 3.4    ¶4
10       foregoing revenue-sharing in the following order of priority:
11       (a) current administrative rent for all the Moses Lake parcels,
12       whether opened or not (this amount totals $62,500 per month);
13       (b) the Catch-Up Power Payment; and (c) the Bond Payment.
14       The Trustee’s obligation to share revenue ends once the Estate    § 3.3    ¶5
15       has paid in full the Catch-Up Power Payments, the Bond
16       Payment, and all past due rent that has accrued after the
17       Petition Date has been paid in full.
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    Net revenues refers to revenues left after current electricity costs are paid.
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     MATERIAL PROVISIONS OF PROPOSED                                    Agr. § Ord. ¶
 1   AGREEMENT
 2   The claim of the Moses Lake Landlords to repayment of the          § 4.1      ¶6
 3   Catch-Up Payments shall have priority over any or all
 4   administrative expenses of the kind specified in section 503(b)
 5   or 507(b) of title 11 of the United State Code (the “Bankruptcy
 6   Code”) as provided by section 364(c)(1) of the Bankruptcy
 7   Code.
 8   Events of Default: (1) late payment of obligations under the       § 9.1      ¶7
 9   Two-Way Agreement after a 5-day cure expires without
10   remedy; (2) dismissal or conversion of the above-captioned
11   bankruptcy case; (3) equal or higher priority claim granted to a
12   creditor other than the Moses Lake Landlords
13   The Moses Lake Landlords agree to extend the deadline in the       § 10.1     ¶9
14   Bankruptcy Case to assume or reject the Moses Lake Leases
15   for two months to May 19, 2019 and will negotiate in good
16   faith for any further extensions.
17   The Moses Lake Landlords agree to withdraw the motion for          § 11.1 ¶ 8
18   relief from stay [Docket No. 76] without prejudice.
19   The Trustee agrees to send monthly revenue and expense                § 6.1   ¶ 3.f
20   reports to the Moses Lake Landlords
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     MATERIAL PROVISIONS OF PROPOSED                                   Agr. § Ord. ¶
 1   AGREEMENT
 2   Approval by the Bankruptcy Court is a condition precedent to          § 5.2   n/a
 3   the Trustee’s and Estate’s obligations under the Moses Lake
 4   Two-Way Agreement
 5

 6        WHEREFORE, the Trustee respectfully requests entry of an Order:
 7        1.     Granting the Motion;
 8        2.     Approving the Moses Lake Two-Way Agreement;
 9        3.     Authorizing the Trustee to perform pursuant to the terms of the
10 Moses Lake Two-Way Agreement;
11        4.     Granting to the Moses Lake Landlords a super-priority administrative
12 claim for repayment of the Catch-Up Power Payment Amount and accrued

13 interest, pursuant to section 364(c)(1) of title 11 of the United States Code; and
14        5.     Granting such other and further relief as the Court deems necessary
15 and just.

16 Dated: April 5, 2019                    CKR LAW LLP
17
                                     By:         /s/ Paul H. Beattie
18                                         Paul H. Beattie (WSBA No. 30277)
19                                         Attorneys for Mark D. Waldron, Chapter 11
                                           Trustee
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